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Exhibit 4
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CHURCH OF MOTHER EARTH

Code of Ethics for Soul Quest Church of Mother Earth DBA Soul Quest
Ayahuasca Church of Mother Earth Retreat and Wellness Center

Soul Quest Church of Mother Earth Inc. (SQCME) DBA Soul Quest Ayahuasca Church of Mother Earth

- and any Authorized Branch of Soul Quest Ayahuasca Church of Mother Retreat and Wellness Center
(SQACME) accepts all natural substances and their derivatives, natural herbs and plants as central to
our established religious beliefs. Natural substances, minerals herbs and plants are significant
Indigenous Earth-Based Healing Sacrament (Eucharist) for this church. Sacerdotal duties performed by
ministers/ medicine persons include and are not limited to all traditional roles and services common to
expression of indigenous, tradition, native and earth based religious practice as well as to any
organized religious organization. :

The names for Spiritual Leaders (Pastor, Clergy, Medicine Man/Woman) of Soul Quest Church of
Mother Earth are known by a variety of sacred callings: Minister, Curandero, Curandera, Elder,
Mara’akame, Roadman, Sacred Prayer Pipe Carrier, Water Pourer, those who are experienced in some
Native American spiritual practices and who act to facilitate the spiritual practices of others. A Soul
Quest Church of Mother Earth Medicine Person need not claim exclusive or definitive knowledge of his
or her practice.

Even though Soul Quest Church of Mother Earth’s primary purpose is to administer Sacramental
Ceremonies, a Soul Quest Church of Mother Earth of Sacred Medicine Person is free ‘not’ to administer
a sacrament during any Indigenous ceremony.

All Soul Quest Church of Mother Earth Indigenous Ceremonies of North and South America
(Ayahuasca Ceremony, Birth, Breath, Holy Anointing, Marriage, Passing Over, Prayer Pipe, Sacrament,
Spirit Dance, Sundance, Sweat Lodge, and Vision Quest, but especially Ayahuasca may carry extreme
mental, emotional and physical transformations. Therefore, when a member and/or authorized
participant choose to participate in any indigenous Native Ceremony with the assistance of a Soul
Quest Church of Mother Earth Medicine person, both take on special responsibilities and
understandings: ,

(1) Soul Quest Church of Mother Earth Medicine People are to practice and serve in ways that

cultivate awareness, empathy, and wisdom for all Members and Authorized Participants, during
ceremonies.

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(2) Soul Quest Church of Mother Earth Medicine Authorized Participants will adhere and comply
to all directorial appeals one-hour prior, during, and three hours after ceremony, being
conducted by a Soul Quest Church of Mother Earth Medicine Person.

(3) Soul Quest Church of Mother Earth Medicine Spiritual Practices are inspired and conducted
in ways that respect the common good, with due regard for public safety, health, and order.

a) Often, the increased awarenéss gained from Indigenous, Traditional, Native
American Spiritual ceremonies will catalyze a desire for personal and social
change in a Member, Authorized Participant's, life.

b) Medicine People shall use special care in assisting the direction of energies of
those whom they serve, as well as their own energies, in responsible ways that
reflect a loving and respectful regard for all life.

(4) The autonomy and dignity of each Member and/or Authorized Participant are respected and
preserved by Soul Quest Church of Mother Earth Medicine People. Participation in any Soul
Quest Church of Mother Earth Medicine Ceremony must be voluntary and based on prior
disclosure and consent given by each participant while in an ordinary state of consciousness.

a) Disclosure shall include, at a minimum, discussion of any elements of the
ceremony that could reasonably be presenting physical or psychological risks.
First time Authorized Participants must be advised that Native American
Ceremonies can be difficult and dramatically transforming.

b) Health and Safety during the ceremony and the few hours of vulnerability that
may follow a ceremony are watched over carefully with reasonable preparations
by the Medicine People.

c) Limits on the behaviors of Members and Authorized Participants and Medicine
People are to be made clear and agreed upon in advance of any Native
American Ceremony.

d) Cultural / religious customs and confidentiality are to be accepted and honored.

(5) Soul Quest Church of Mother Earth Medicine ceremonies are to be conducted in the spirit of
service. Medicine People accommodate Members and Authorized Participants without regard to
race, religious affiliations, gender, cultural background, financial status, political affiliations
and/or sexual orientation.

(6) Soul Quest Church of Mother Earth Medicine People are aware during ceremony that
Members and Authorized Participants may be especially open to suggestion.

a) Medicine People pledge to protect participants and not to allow anyone to use that
vulnerability in ways that harm themselves or others.

(7) Soul Quest Church of Mother Earth keeps official logs of when the medicine arrives, how it is
stored and how it is dispensed. The medicine is stored in'a secure, locked place where only the
Medicine Man and Officers of the Church have access to it. Only approved Officers can
distribute the medicine to Members.

(8) Soul Quest Church of Mother Earth Medicine makes absolutely no claims about being in
authority or having the ability to conduct saving ordinances.

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(9) Soul Quest Church of Mother Earth Medicine is part of an indigenous people, traditional,
spiritual Earth Based healing and empowering international religion and collective that serves
individuals and the wider community when and wherever a Soul Quest Church of Mother Earth
member may reside in.

(10) Soul Quest Church of Mother Earth Medicine is committed to growth through attraction of
service rather than proselytizing for membership.

(11) Soul Quest Church of Mother Earth does not condone in any manner shape or form the
physical and/or sexual abuse of children, any exploitation of children in any sexual or physically
abusive form, or of any person or other earthly beings.

(12) Soul Quest Church of Mother Earth does not condone in any manner, shape, or form, the

utilization of any substance or remedy for any condition of any kind that is addictive and/or with
overdosing abilities that bring about death.

Chris Young DATE:

CEO, Medicine Man, Pastor, Chief Elder and Counselor:

Verena Young DATE:

President, Elder and Counselor:

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